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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF KENTUCKY
                                      LONDON DIVISION


                                                  )
 In re:                                           )      Chapter 11
                                                  )
 Americore Holdings, LLC, et al., 1               )      Case No. 19-61608-grs
                                                  )
          Debtors.                                )      Jointly Administered
                                                  )


                           TRUSTEE’S NOTICE OF FILING RESPONSE

          PLEASE TAKE NOTICE that Carol Fox, Chapter 11 Trustee of Americore Health, LLC,

 through counsel, hereby gives notice of filing Plaintiff’s Response to Defendant Fulgent Genetics,

 Inc.’s Objection to Order Establishing Procedures Governing Adversary Proceedings Pertaining

 to Laboratory Fraud [see ADV. No. 22-06038-grs, ECF No. 24].

 DATED: January 13, 2023                                 NELSON MULLINS RILEY & SCARBOROUGH LLP

                                                         2 South Biscayne Boulevard - 21st Floor
                                                         Miami, FL 33131
                                                         Ph. 305-373-9400 | Fax 305-995-6416

                                                         100 S.E. 3rd Avenue, Suite 2700
                                                         Fort Lauderdale, FL 33394
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                                                         /s/ Frank P. Terzo
                                                         Frank P. Terzo
                                                         Florida Bar No. 727260
                                                         Gary.Freedman@nelsonmullins.com
                                                         Frank P. Terzo
                                                         Florida Bar No. 906263
                                                         Frank.Terzo@nelsonmullins.com

                                                         Special Counsel for Carol Fox, Chapter 11
                                                         Trustee

 1The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification
 numbers in parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore
 Health Enterprises, LLC (3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate,
 LLC (8799); Ellwood Medical Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard
 County Medical Center, LLC (3388); Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610);
 and St. Alexius Hospital Corporation #1 (2766).
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                                    CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via

 transmission of Notices of Electronic Filing on all counsel of record or pro se parties identified on

 the CM/ECF service list maintained by the Court, on January 13, 2023.


                                                       /s/ Frank P. Terzo
                                                       Frank P. Terzo




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